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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                                No. 4:08CR00054-02 JLH

ERIC JEROME OWENS                                                               DEFENDANT

                                           ORDER

       Pending before the Court is the government’s Motion to Continue Supervised Release

Revocation Hearing currently set for Thursday, August 2, 2012. Without objection, the motion is

GRANTED. Document #368. The hearing on the pending motion to revoke supervised release of

defendant is hereby rescheduled for MONDAY, AUGUST 6, 2012, at 10:00 a.m., in Courtroom

#4-D, Richard Sheppard Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock,

Arkansas. Document #365.

       IT IS SO ORDERED this 25th day of July, 2012.



                                                   __________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
